Ease 4:22-cv-01011-O Document % Filed 11/22/22 Page 1 of 3 PagelD 19

AO 440 (Rev. 12/09) Summons in a Civil Action

 

  
    

 

 

 

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PLanitt 3
v. } Civil Action No. 4:22-ev-01011-O

)
ey . vos ;
DIJ Properties Management, LLC )

Defendant — ~ _ .

Suinmons in a Civil Action 4

TO: DI Properties Management, LLC 5925 Callaston Lane

Fort Worth TX 76112
jormerly known as Copper Creck Uf

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received
it) -- or 60 days if you are the United States or a United States agency. or an officer or
employee of the United States described in Fed. R. Civ. P. i2(a)(2) or (3) -- you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule {2 of the Federal
Rules of Civil Procedure. The answer or motion must be served on the plaintiff or the
plaintiif’s attorney, whose name and address are:

Marwan Daher

2500 South Highland Avenue
Suite 260 *

Lombard , [L 60148

{f you fail to respond, judgment by default will be entered against you for the relief
demanded in the complaint. You also must file your answer or motion with the court.

CLERK OF COURT

 

DATE: 11/14/2070

 

 
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UNITED StaTES District Court

for the
Northern District of Texas

 

 

)
Stevenson )
Plaintiff
Vv. J Civil Action No. 4:22?-cv-01011-O
)
DIJ Properties Management, LLC )
Defendant
AFFIDAVIT OF SERVICE

I, Shelvia Farr, being duly sworn, state:
I am not a party to or interested in the outcome of this suit.

I received the following documents on November 16, 2022 at 12:12 pm. I delivered these documents on DIJ
Properties Management, LLC in Tarrant County, TX on November 17, 2022 at 5:46 pm at 5925 Callaston Ln, Fort
Worth, TX 76112 by leaving the following documents with Alex (Refused Last Name) who as Leasing Agent at

Luna Vista is authorized by appointment or by law to receive service of process for DIJ Properties Management,
LLG.

Summons
Complaint

Additional Description:

I asked for the Registered Agent to accept legal documents and he said he could take them. I delivered the
documents to Alex (Refused Last Name), Leasing Agent, for the Registered Agent, Luna Vista.

Hispanic or Latino Male, est. age 35, glasses: N. Black hair, 120 lbs to 140 Ibs, 5'6" to 5'9",
Geolocation of Serve: http://maps.google.com/maps?q=32.7640686035,-97.2278944548
Photograph: See Exhibit 1

My name is Shelvia Farr, my date of birth is 2/0/1972, and my address is 1821 Lynnwood Hills Dr, Fort Worth, TX
76112, and USA.

I declare under penalty of perjury that the foregoing is true and correct.

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/S/ Shelia Farr

Shelvia Farr - +1 (817) 658-4665
Certification Number: PSC-18932
Expiration Date: 10/31/2024

Executed in Tarrant County

TX on = 11/21/2022

2

 

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